Part 1: Mortgage and Case Information
                                                         Case
                                                         Case19-12097-mdc
                                                              19-00228-mdc              Claim
                                                                                         Doc 17-2
                                                               Part 2: Total Debt Calculation
                                                                                              3-2 Part
                                                                                                     Filed
                                                                                                        2 03/13/20
                                                                                                           Filed 12/17/19
                                                                                                                       Entered     Desc03/13/20
                                                                                                                                           Exhibit23:25:14Page 1Desc
                                                                                                                     Part 3: Arrearage as of Date of Petition
                                                                                                                                                                of 10Part 4: Monthly Mortgage Payment
                                                                                        Exhibit A - POC 3-2 pat 2 Page          1   of  10
                                                                                                                     Principal & Interest
Case Number:                     19-12097-mdc                            Principal Balance:                                                             76045.40 Due:                                                                 70140.07 Principal & Interest                                   490.49


Debtor 1:                        Joseph Walker aka Joe Walker            Interest Due:                                                                  58949.40 Prepetition fees due:                                                31602.56 Monthly Escrow                                         195.72
                                                                                                                                                                 Escrow deficiency for                                                         Private Mortgage
Debtor 2:                        NA                                      MIP Amount:                                                                        0.00 funds advanced:                                                      31573.47 Insurance                                                 0.00
Last 4 digits used to                                                                                                                                            Projected escrow
Identify                         2398                                    Fees, Costs Due:                                                               31602.56 shortage:                                                              391.40
                                                                         Escrow deficiency for funds                                                                                                                                         Total Monthly
Creditor:                        M&T Bank                                advanced:                                                                      31573.47 Less funds on hand:                                                    0.00 Payment                                                  686.21
                                                                                                                                                                 Total prepetition                                                           1st Post Petition
Servicer:                        M&T Bank                                Less total funds on hand:                                                          0.00 arrearage                                                         133707.50 Payment Due                                            5/1/2019

Fixed accrual, Daily simple
interest or other:          Fixed Accrual                                Total Debt:                                                                   198170.83



Part 5: Loan Payment History from First Date of Default
                                            Account Activity                                                                                                        How funds were applied/Amount Incurred                       Balance after amount received or incurred

A.              B.               C.                 D.                                     E.                F.               G                   H.                I.            J.               K.           L.               M.                N.         O.              P.            Q.
Date            Contractual      Funds received     Amount Incurred                    Description           Contractual due Prin, int & esc past Amount to         Amount to     Amount to Amount to fees Unapplied             Principal         Accrued    Escrow          Fees /        Unapplied Funds
                Payment                                                                                      date            due balance          principal         interest      escrow    or charges     funds                 Balance           interest   Balance         Charges       Balance
                amount                                                                                                                                                                                                                             balance                    Balance

                                                                                  Beginning Balance               10/1/2005                0.00                                                                                        77,530.99                   1,037.36          0.00                 0.00
     10/1/05            692.11                                                 Contractual Payment Due            10/1/2005              692.11                                                                                        77,530.99                   1,037.36          0.00                 0.00
     10/4/05                                                               Mortgage Insurance Disbursement        10/1/2005              692.11                                          -27.65                                        77,530.99                   1,009.71          0.00                 0.00
     10/13/05                              104.50                                 Payment Received                10/1/2005              692.11                                                                        104.50          77,530.99                   1,009.71          0.00               104.50
     10/17/05                                                                      Escrow Payment                 10/1/2005              692.11                                          104.50                       -104.50          77,530.99                   1,114.21          0.00                 0.00
     11/1/05            683.11                                                 Contractual Payment Due            10/1/2005            1,375.22                                                                                        77,530.99                   1,114.21          0.00                 0.00
     11/4/05                                                               Mortgage Insurance Disbursement        10/1/2005            1,375.22                                          -27.65                                        77,530.99                   1,086.56          0.00                 0.00
     11/7/05                               719.43                                  Payment Applied                10/1/2005              683.11             70.53        419.96          201.62                                        77,460.46                   1,288.18          0.00                 0.00
     11/23/05                                                                       Escrow Refund                 11/1/2005              683.11                                         -126.44                                        77,460.46                   1,161.74          0.00                 0.00
     12/1/05            683.11                                                 Contractual Payment Due            11/1/2005            1,366.22                                                                                        77,460.46                   1,161.74          0.00                 0.00
     12/2/05                                                               Mortgage Insurance Disbursement        11/1/2005            1,366.22                                          -27.65                                        77,460.46                   1,134.09          0.00                 0.00
     12/16/05                                                    27.32                 Late Charge                11/1/2005            1,366.22                                                         27.32                          77,460.46                   1,134.09         27.32                 0.00
      1/1/06            670.07                                                 Contractual Payment Due            11/1/2005            2,036.29                                                                                        77,460.46                   1,134.09         27.32                 0.00
      1/3/06                               683.11                                  Payment Applied                11/1/2005            1,353.18             70.91        419.58          192.62                                        77,389.55                   1,326.71         27.32                 0.00
      1/4/06                                                               Mortgage Insurance Disbursement        12/1/2005            1,353.18                                          -27.65                                        77,389.55                   1,299.06         27.32                 0.00
     1/17/06                                                     26.80                 Late Charge                12/1/2005            1,353.18                                                         26.80                          77,389.55                   1,299.06         54.12                 0.00
     1/26/06                                                                       City/Village Tax               12/1/2005            1,353.18                                        -1,102.19                                       77,389.55                    196.87          54.12                 0.00
     1/31/06                               943.05                                  Payment Applied                12/1/2005              670.07             71.30        419.19          192.62                        259.94          77,318.25                    389.49          54.12               259.94
      2/1/06            670.07                                                 Contractual Payment Due            1/1/2006             1,340.14                                                                                        77,318.25                    389.49          54.12               259.94
      2/8/06                                                               Mortgage Insurance Disbursement        1/1/2006             1,340.14                                          -27.65                                        77,318.25                    361.84          54.12               259.94
     2/16/06                                                     26.80                 Late Charge                1/1/2006             1,340.14                                                         26.80                          77,318.25                    361.84          80.92               259.94
      3/1/06            670.07                                                 Contractual Payment Due            1/1/2006             2,010.21                                                                                        77,318.25                    361.84          80.92               259.94
      3/1/06                               943.05                                 Payment Received                1/1/2006             2,010.21                                                                        943.05          77,318.25                    361.84          80.92             1,202.99
      3/2/06                                                                       Payment Applied                1/1/2006             1,340.14             71.68        418.81          179.58                       -670.07          77,246.57                    541.42          80.92               532.92
      3/3/06                                                               Mortgage Insurance Disbursement        2/1/2006             1,340.14                                          -27.65                                        77,246.57                    513.77          80.92               532.92
     3/16/06                                                     26.80                 Late Charge                2/1/2006             1,340.14                                                         26.80                          77,246.57                    513.77         107.72               532.92
      4/1/06            670.07                                                 Contractual Payment Due            2/1/2006             2,010.21                                                                                        77,246.57                    513.77         107.72               532.92
      4/3/06                               834.54                                 Payment Received                2/1/2006             2,010.21                                                                        834.54          77,246.57                    513.77         107.72             1,367.46
      4/3/06                                                                       Hazard Insurance               2/1/2006             2,010.21                                         -741.00                                        77,246.57                    -227.23        107.72             1,367.46
      4/4/06                                                               Mortgage Insurance Disbursement        2/1/2006             2,010.21                                          -27.65                                        77,246.57                    -254.88        107.72             1,367.46
      4/5/06                                                                       Payment Applied                2/1/2006             1,340.14             72.07        418.42          179.58                      -1,367.46         77,174.50                     -75.30        107.72                 0.00
      4/5/06                                                                       Payment Applied                3/1/2006               670.07             72.46        418.03          179.58                                        77,102.04                    104.28         107.72                 0.00
     4/17/06                                                     26.80                 Late Charge                4/1/2006               670.07                                                         26.80                          77,102.04                    104.28         134.52                 0.00
      5/1/06            670.07                                                 Contractual Payment Due            4/1/2006             1,340.14                                                                                        77,102.04                    104.28         134.52                 0.00
Official Form 410A                                                                                                                Mortgage Proof of Claim                                                                                                                                         Page 1 of10
    5/4/06                               Case
                                         Case19-12097-mdc
                                                 19-00228-mdc                  Claim
                                                                                Doc 17-2
                                                   Mortgage Insurance Disbursement
                                                                                      3-2 Part
                                                                                    4/1/2006 Filed
                                                                                                21,340.14
                                                                                                    03/13/20
                                                                                                      Filed 12/17/19
                                                                                                                Entered
                                                                                                                      Desc
                                                                                                                         03/13/20
                                                                                                                        -27.65
                                                                                                                               Exhibit23:25:14
                                                                                                                                          Page 277,102.04
                                                                                                                                                Desc
                                                                                                                                                  of 10                                 76.63    134.52          0.00
   5/16/06                                  26.80            Late Charge       Exhibit  A - POC 1,340.14
                                                                                    4/1/2006      3-2 pat 2 Page 2 of 10          26.80         77,102.04                               76.63    161.32          0.00
    6/1/06           670.07                               Contractual Payment Due       4/1/2006        2,010.21                                                          77,102.04     76.63    161.32          0.00
    6/2/06                                            Mortgage Insurance Disbursement   4/1/2006        2,010.21                          -27.65                          77,102.04     48.98    161.32          0.00
   6/16/06                                    26.80             Late Charge             4/1/2006        2,010.21                                     26.80                77,102.04     48.98    188.12          0.00
   6/23/06                    1,006.00                       Payment Received           4/1/2006        2,010.21                                              1,006.00    77,102.04     48.98    188.12      1,006.00
   6/26/06                                                   Payment Applied            4/1/2006        1,340.14       72.85   417.64     179.58               -670.07    77,029.19    228.56    188.12        335.93
    7/1/06           670.07                               Contractual Payment Due       5/1/2006        2,010.21                                                          77,029.19    228.56    188.12        335.93
    7/5/06                                            Mortgage Insurance Disbursement   5/1/2006        2,010.21                          -27.27                          77,029.19    201.29    188.12        335.93
   7/17/06                                    26.80             Late Charge             5/1/2006        2,010.21                                     26.80                77,029.19    201.29    214.92        335.93
   7/31/06                                                      Late Charge             5/1/2006        2,010.21                           81.01    -214.92    -295.93    77,029.19    282.30      0.00         40.00
   7/31/06                                    25.00         Property Inspection         5/1/2006        2,010.21                                     25.00      -25.00    77,029.19    282.30     25.00         15.00
   7/31/06                                                  Transaction Reversal        5/1/2006        2,010.21                                     -25.00     -15.00    77,029.19    282.30      0.00          0.00
    8/1/06           670.07                               Contractual Payment Due       5/1/2006        2,680.28                                                          77,029.19    282.30      0.00          0.00
    8/4/06                                            Mortgage Insurance Disbursement   5/1/2006        2,680.28                          -27.27                          77,029.19    255.03      0.00          0.00
    8/7/06                    1,340.14                       Payment Received           5/1/2006        2,680.28                                              1,340.14    77,029.19    255.03      0.00      1,340.14
    8/8/06                                                   Payment Applied            5/1/2006        2,010.21       73.25   417.24     179.58              -1,340.14   76,955.94    434.61      0.00          0.00
    8/8/06                                                   Payment Applied            6/1/2006        1,340.14       73.65   416.84     179.58                          76,882.29    614.19      0.00          0.00
   8/16/06                                    26.80             Late Charge             7/1/2006        1,340.14                                     26.80                76,882.29    614.19     26.80          0.00
    9/1/06           670.07                               Contractual Payment Due       7/1/2006        2,010.21                                                          76,882.29    614.19     26.80          0.00
    9/5/06                                            Mortgage Insurance Disbursement   7/1/2006        2,010.21                          -27.27                          76,882.29    586.92     26.80          0.00
   9/18/06                                    26.80             Late Charge             7/1/2006        2,010.21                                     26.80                76,882.29    586.92     53.60          0.00
   10/1/06           400.07                               Contractual Payment Due       7/1/2006        2,410.28                                                          76,882.29    586.92     53.60          0.00
   10/4/06                                            Mortgage Insurance Disbursement   7/1/2006        2,410.28                          -27.27                          76,882.29    559.65     53.60          0.00
   10/16/06                                   26.80             Late Charge             7/1/2006        2,410.28                                     26.80                76,882.29    559.65     80.40          0.00
   11/1/06           670.07                               Contractual Payment Due       7/1/2006        3,080.35                                                          76,882.29    559.65     80.40          0.00
   11/3/06                                            Mortgage Insurance Disbursement   7/1/2006        3,080.35                          -27.27                          76,882.29    532.38     80.40          0.00
   11/16/06                                   26.80             Late Charge             7/1/2006        3,080.35                                     26.80                76,882.29    532.38    107.20          0.00
   12/1/06           670.07                               Contractual Payment Due       7/1/2006        3,750.42                                                          76,882.29    532.38    107.20          0.00
   12/4/06                                            Mortgage Insurance Disbursement   7/1/2006        3,750.42                          -27.27                          76,882.29    505.11    107.20          0.00
   12/15/06                   1,340.14                       Payment Received           7/1/2006        3,750.42                                              1,340.14    76,882.29    505.11    107.20      1,340.14
   12/18/06                                   26.80             Late Charge             7/1/2006        3,750.42                                     26.80                76,882.29    505.11    134.00      1,340.14
   12/18/06                                                  Payment Applied            7/1/2006        3,080.35       74.04   416.45     179.58              -1,340.14   76,808.25    684.69    134.00          0.00
   12/18/06                                                  Payment Applied            8/1/2006        2,410.28       74.45   416.04     179.58                          76,733.80    864.27    134.00          0.00
    1/1/07           670.07                               Contractual Payment Due       9/1/2006        3,080.35                                                          76,733.80    864.27    134.00          0.00
    1/4/07                                            Mortgage Insurance Disbursement   9/1/2006        3,080.35                          -27.27                          76,733.80    837.00    134.00          0.00
    1/8/07                     670.07                        Payment Received           9/1/2006        3,080.35                                                670.07    76,733.80    837.00    134.00        670.07
   1/16/07                                    26.85             Late Charge             9/1/2006        3,080.35                                     26.85                76,733.80    837.00    160.85        670.07
   1/18/07                                                   Payment Applied            9/1/2006        2,410.28       74.85   415.64     179.58               -670.07    76,658.95   1,016.58   160.85          0.00
    2/1/07           670.07                               Contractual Payment Due       10/1/2006       3,080.35                                                          76,658.95   1,016.58   160.85          0.00
    2/2/07                                            Mortgage Insurance Disbursement   10/1/2006       3,080.35                          -27.27                          76,658.95    989.31    160.85          0.00
    2/2/07                                                    City/Village Tax          10/1/2006       3,080.35                        -1,102.20                         76,658.95    -112.89   160.85          0.00
    2/7/07                     670.07                        Payment Received           10/1/2006       3,080.35                                                670.07    76,658.95    -112.89   160.85        670.07
   2/16/07                                    26.85             Late Charge             10/1/2006       3,080.35                                     26.85                76,658.95    -112.89   187.70        670.07
    3/1/07           671.36                               Contractual Payment Due       10/1/2006       3,751.71                                                          76,658.95    -112.89   187.70        670.07
    3/2/07                                            Mortgage Insurance Disbursement   10/1/2006       3,751.71                          -27.27                          76,658.95    -140.16   187.70        670.07
    3/5/07                     670.07                        Payment Received           10/1/2006       3,751.71                                                670.07    76,658.95    -140.16   187.70      1,340.14
    3/9/07                                                   Payment Applied            10/1/2006       3,351.64       75.25   145.24     179.58              -1,340.14   76,583.70     39.42    187.70          0.00
    3/9/07                                                   Payment Applied            11/1/2006       2,681.57       75.66   414.83     179.58                          76,508.04    219.00    187.70          0.00
   3/16/07                                    26.85             Late Charge             12/1/2006       2,681.57                                     26.85                76,508.04    219.00    214.55          0.00
    4/1/07           671.36                               Contractual Payment Due       12/1/2006       3,352.93                                                          76,508.04    219.00    214.55          0.00
    4/3/07                                                   Hazard Insurance           12/1/2006       3,352.93                         -780.65                          76,508.04    -561.65   214.55          0.00
    4/4/07                                            Mortgage Insurance Disbursement   12/1/2006       3,352.93                          -27.27                          76,508.04    -588.92   214.55          0.00
    4/5/07                     670.07                        Payment Received           12/1/2006       3,352.93                                                670.07    76,508.04    -588.92   214.55        670.07
   4/16/07                                    26.85             Late Charge             12/1/2006       3,352.93                                     26.85                76,508.04    -588.92   241.40        670.07
    5/1/07           667.49                               Contractual Payment Due       12/1/2006       4,020.42                                                          76,508.04    -588.92   241.40        670.07
    5/4/07                                            Mortgage Insurance Disbursement   12/1/2006       4,020.42                          -27.27                          76,508.04    -616.19   241.40        670.07
    5/8/07                     670.07                        Payment Received           12/1/2006       4,020.42                                                670.07    76,508.04    -616.19   241.40      1,340.14
   5/14/07                                                   Payment Applied            12/1/2006       3,350.35       76.07   414.42     179.58              -1,340.14   76,431.97    -436.61   241.40          0.00
   5/14/07                                                   Payment Applied            1/1/2007        2,680.28       76.48   414.01     179.58                          76,355.49    -257.03   241.40          0.00
   5/16/07                                    26.85             Late Charge             2/1/2007        2,680.28                                     26.85                76,355.49    -257.03   268.25          0.00
Official Form 410A                                                                                  Mortgage Proof of Claim                                                                               Page 2 of10
    6/1/07           671.36
                                       Case
                                       Case19-12097-mdc
                                            19-00228-mdc
                                                 Contractual Payment Due
                                                                          Claim
                                                                           Doc 17-2
                                                                                 3-2 Part
                                                                               2/1/2007 Filed
                                                                                           23,351.64
                                                                                               03/13/20
                                                                                                 Filed 12/17/19
                                                                                                           Entered
                                                                                                                 Desc
                                                                                                                   03/13/20
                                                                                                                       Exhibit23:25:14
                                                                                                                                  Page 376,355.49
                                                                                                                                        Desc
                                                                                                                                          of 10                                 -257.03    268.25          0.00
    6/4/07                                                                Exhibit
                                              Mortgage Insurance Disbursement      A - POC 3,351.64
                                                                               2/1/2007      3-2 pat 2 Page 3 of-27.27
                                                                                                                    10                  76,355.49                               -284.30    268.25          0.00
    6/7/07                    670.07                       Payment Received           2/1/2007       3,351.64                                            670.07    76,355.49    -284.30    268.25        670.07
   6/13/07                                                 Payment Applied            2/1/2007       2,681.57       76.90   413.59     179.58            -670.07   76,278.59    -104.72    268.25          0.00
    7/1/07           671.36                             Contractual Payment Due       3/1/2007       3,352.93                                                      76,278.59    -104.72    268.25          0.00
    7/3/07                                          Mortgage Insurance Disbursement   3/1/2007       3,352.93                          -26.88                      76,278.59    -131.60    268.25          0.00
    7/6/07                    670.07                       Payment Received           3/1/2007       3,352.93                                            670.07    76,278.59    -131.60    268.25        670.07
    8/1/07           671.36                             Contractual Payment Due       3/1/2007       4,024.29                                                      76,278.59    -131.60    268.25        670.07
    8/3/07                                          Mortgage Insurance Disbursement   3/1/2007       4,024.29                          -26.88                      76,278.59    -158.48    268.25        670.07
    8/8/07                    670.07                       Payment Received           3/1/2007       4,024.29                                            670.07    76,278.59    -158.48    268.25      1,340.14
    8/9/07                                                 Payment Applied            3/1/2007       3,352.93       77.31   413.18     180.87            -671.36   76,201.28      22.39    268.25        668.78
    9/1/07           671.36                             Contractual Payment Due       4/1/2007       4,024.29                                                      76,201.28      22.39    268.25        668.78
    9/5/07                                          Mortgage Insurance Disbursement   4/1/2007       4,024.29                          -26.88                      76,201.28       -4.49   268.25        668.78
    9/7/07                    670.07                       Payment Received           4/1/2007       4,024.29                                            670.07    76,201.28       -4.49   268.25      1,338.85
   9/10/07                                                 Payment Applied            4/1/2007       3,352.93       77.73   412.76     180.87            -671.36   76,123.55     176.38    268.25        667.49
   10/1/07           671.36                             Contractual Payment Due       5/1/2007       4,024.29                                                      76,123.55     176.38    268.25        667.49
   10/4/07                                          Mortgage Insurance Disbursement   5/1/2007       4,024.29                          -26.88                      76,123.55     149.50    268.25        667.49
   11/1/07           671.36                             Contractual Payment Due       5/1/2007       4,695.65                                                      76,123.55     149.50    268.25        667.49
   11/2/07                                          Mortgage Insurance Disbursement   5/1/2007       4,695.65                          -26.88                      76,123.55     122.62    268.25        667.49
   12/1/07           671.36                             Contractual Payment Due       5/1/2007       5,367.01                                                      76,123.55     122.62    268.25        667.49
   12/4/07                                          Mortgage Insurance Disbursement   5/1/2007       5,367.01                          -26.88                      76,123.55      95.74    268.25        667.49
    1/1/08           676.50                             Contractual Payment Due       5/1/2007       6,043.51                                                      76,123.55      95.74    268.25        667.49
    1/4/08                                          Mortgage Insurance Disbursement   5/1/2007       6,043.51                          -26.88                      76,123.55      68.86    268.25        667.49
   1/31/08                                                  City/Village Tax          5/1/2007       6,043.51                        -1,185.97                     76,123.55   -1,117.11   268.25        667.49
    2/1/08           676.50                             Contractual Payment Due       5/1/2007       6,720.01                                                      76,123.55   -1,117.11   268.25        667.49
    2/4/08                                          Mortgage Insurance Disbursement   5/1/2007       6,720.01                          -26.88                      76,123.55   -1,143.99   268.25        667.49
    3/1/08           676.50                             Contractual Payment Due       5/1/2007       7,396.51                                                      76,123.55   -1,143.99   268.25        667.49
    3/4/08                                          Mortgage Insurance Disbursement   5/1/2007       7,396.51                          -26.88                      76,123.55   -1,170.87   268.25        667.49
    4/1/08           676.50                             Contractual Payment Due       5/1/2007       8,073.01                                                      76,123.55   -1,170.87   268.25        667.49
    4/1/08                                                 Hazard Insurance           5/1/2007       8,073.01                         -799.20                      76,123.55   -1,970.07   268.25        667.49
    4/4/08                                          Mortgage Insurance Disbursement   5/1/2007       8,073.01                          -26.88                      76,123.55   -1,996.95   268.25        667.49
   4/24/08                                                 Payment Applied            5/1/2007       7,405.52       78.15   412.34     177.00            -667.49   76,045.40   -1,819.95   268.25          0.00
    5/1/08           676.50                             Contractual Payment Due       6/1/2007       8,082.02                                                      76,045.40   -1,819.95   268.25          0.00
    5/2/08                                          Mortgage Insurance Disbursement   6/1/2007       8,082.02                          -26.88                      76,045.40   -1,846.83   268.25          0.00
   5/16/08                                  27.06             Late Charge             6/1/2007       8,082.02                                    27.06             76,045.40   -1,846.83   295.31          0.00
    6/1/08           676.50                             Contractual Payment Due       6/1/2007       8,758.52                                                      76,045.40   -1,846.83   295.31          0.00
    6/4/08                                          Mortgage Insurance Disbursement   6/1/2007       8,758.52                          -26.88                      76,045.40   -1,873.71   295.31          0.00
   6/16/08                                  27.06             Late Charge             6/1/2007       8,758.52                                    27.06             76,045.40   -1,873.71   322.37          0.00
    7/1/08           676.50                             Contractual Payment Due       6/1/2007       9,435.02                                                      76,045.40   -1,873.71   322.37          0.00
    7/3/08                                          Mortgage Insurance Disbursement   6/1/2007       9,435.02                          -26.45                      76,045.40   -1,900.16   322.37          0.00
   7/16/08                                  27.06             Late Charge             6/1/2007       9,435.02                                    27.06             76,045.40   -1,900.16   349.43          0.00
    8/1/08           676.50                             Contractual Payment Due       6/1/2007      10,111.52                                                      76,045.40   -1,900.16   349.43          0.00
    8/4/08                                          Mortgage Insurance Disbursement   6/1/2007      10,111.52                          -26.45                      76,045.40   -1,926.61   349.43          0.00
   8/18/08                                  27.06             Late Charge             6/1/2007      10,111.52                                    27.06             76,045.40   -1,926.61   376.49          0.00
    9/1/08           676.50                             Contractual Payment Due       6/1/2007      10,788.02                                                      76,045.40   -1,926.61   376.49          0.00
    9/4/08                                          Mortgage Insurance Disbursement   6/1/2007      10,788.02                          -26.45                      76,045.40   -1,953.06   376.49          0.00
   9/16/08                                  27.06             Late Charge             6/1/2007      10,788.02                                    27.06             76,045.40   -1,953.06   403.55          0.00
   10/1/08           676.50                             Contractual Payment Due       6/1/2007      11,464.52                                                      76,045.40   -1,953.06   403.55          0.00
   10/3/08                                          Mortgage Insurance Disbursement   6/1/2007      11,464.52                          -26.45                      76,045.40   -1,979.51   403.55          0.00
   10/16/08                                 27.06             Late Charge             6/1/2007      11,464.52                                    27.06             76,045.40   -1,979.51   430.61          0.00
   11/1/08           676.50                             Contractual Payment Due       6/1/2007      12,141.02                                                      76,045.40   -1,979.51   430.61          0.00
   11/4/08                                          Mortgage Insurance Disbursement   6/1/2007      12,141.02                          -26.45                      76,045.40   -2,005.96   430.61          0.00
   12/1/08           676.50                             Contractual Payment Due       6/1/2007      12,817.52                                                      76,045.40   -2,005.96   430.61          0.00
   12/4/08                                          Mortgage Insurance Disbursement   6/1/2007      12,817.52                          -26.45                      76,045.40   -2,032.41   430.61          0.00
    1/1/09           674.27                             Contractual Payment Due       6/1/2007      13,491.79                                                      76,045.40   -2,032.41   430.61          0.00
    1/5/09                                          Mortgage Insurance Disbursement   6/1/2007      13,491.79                          -26.45                      76,045.40   -2,058.86   430.61          0.00
    2/1/09           674.27                             Contractual Payment Due       6/1/2007      14,166.06                                                      76,045.40   -2,058.86   430.61          0.00
    2/2/09                                                  City/Village Tax          6/1/2007      14,166.06                        -1,185.97                     76,045.40   -3,244.83   430.61          0.00
    2/4/09                                          Mortgage Insurance Disbursement   6/1/2007      14,166.06                          -26.45                      76,045.40   -3,271.28   430.61          0.00
    3/1/09           674.27                             Contractual Payment Due       6/1/2007      14,840.33                                                      76,045.40   -3,271.28   430.61          0.00
    3/4/09                                          Mortgage Insurance Disbursement   6/1/2007      14,840.33                          -26.45                      76,045.40   -3,297.73   430.61          0.00
Official Form 410A                                                                               Mortgage Proof of Claim                                                                            Page 3 of10
   3/25/09                    Case
                              Case19-12097-mdc
                                   19-00228-mdc
                                          Hazard Insurance
                                                               Claim
                                                               Doc 17-2
                                                                      3-2 Part
                                                                    6/1/2007 Filed
                                                                                214,840.33
                                                                                     03/13/20
                                                                                       Filed 12/17/19
                                                                                                 Entered
                                                                                                       Desc
                                                                                                          03/13/20
                                                                                                        -829.98
                                                                                                                Exhibit23:25:14
                                                                                                                           Page 476,045.40
                                                                                                                                 Desc
                                                                                                                                   of 10          -4,127.71   430.61         0.00
    4/1/09           674.27            Contractual Payment Due Exhibit  A - POC15,514.60
                                                                    6/1/2007       3-2 pat 2 Page 4 of 10                        76,045.40        -4,127.71   430.61         0.00
    4/3/09                                 Mortgage Insurance Disbursement   6/1/2007      15,514.60                -26.45            76,045.40   -4,154.16   430.61         0.00
    5/1/09           674.27                    Contractual Payment Due       6/1/2007      16,188.87                                  76,045.40   -4,154.16   430.61         0.00
    5/4/09                                 Mortgage Insurance Disbursement   6/1/2007      16,188.87                -26.45            76,045.40   -4,180.61   430.61         0.00
   5/18/09                         26.97             Late Charge             6/1/2007      16,188.87                          26.97   76,045.40   -4,180.61   457.58         0.00
    6/1/09           674.27                    Contractual Payment Due       6/1/2007      16,863.14                                  76,045.40   -4,180.61   457.58         0.00
    6/4/09                                 Mortgage Insurance Disbursement   6/1/2007      16,863.14                -26.45            76,045.40   -4,207.06   457.58         0.00
   6/16/09                         26.97             Late Charge             6/1/2007      16,863.14                          26.97   76,045.40   -4,207.06   484.55         0.00
    7/1/09           674.27                    Contractual Payment Due       6/1/2007      17,537.41                                  76,045.40   -4,207.06   484.55         0.00
    7/3/09                                 Mortgage Insurance Disbursement   6/1/2007      17,537.41                -26.00            76,045.40   -4,233.06   484.55         0.00
   7/16/09                         26.97             Late Charge             6/1/2007      17,537.41                          26.97   76,045.40   -4,233.06   511.52         0.00
    8/1/09           674.27                    Contractual Payment Due       6/1/2007      18,211.68                                  76,045.40   -4,233.06   511.52         0.00
    8/4/09                                 Mortgage Insurance Disbursement   6/1/2007      18,211.68                -26.00            76,045.40   -4,259.06   511.52         0.00
   8/17/09                         26.97             Late Charge             6/1/2007      18,211.68                          26.97   76,045.40   -4,259.06   538.49         0.00
    9/1/09           674.27                    Contractual Payment Due       6/1/2007      18,885.95                                  76,045.40   -4,259.06   538.49         0.00
    9/4/09                                 Mortgage Insurance Disbursement   6/1/2007      18,885.95                -26.00            76,045.40   -4,285.06   538.49         0.00
   9/16/09                         26.97             Late Charge             6/1/2007      18,885.95                          26.97   76,045.40   -4,285.06   565.46         0.00
   10/1/09           674.27                    Contractual Payment Due       6/1/2007      19,560.22                                  76,045.40   -4,285.06   565.46         0.00
   10/2/09                                 Mortgage Insurance Disbursement   6/1/2007      19,560.22                -26.00            76,045.40   -4,311.06   565.46         0.00
   10/16/09                        26.97             Late Charge             6/1/2007      19,560.22                          26.97   76,045.40   -4,311.06   592.43         0.00
   11/1/09           674.27                    Contractual Payment Due       6/1/2007      20,234.49                                  76,045.40   -4,311.06   592.43         0.00
   11/4/09                                 Mortgage Insurance Disbursement   6/1/2007      20,234.49                -26.00            76,045.40   -4,337.06   592.43         0.00
   11/16/09                        26.97             Late Charge             6/1/2007      20,234.49                          26.97   76,045.40   -4,337.06   619.40         0.00
   12/1/09           674.27                    Contractual Payment Due       6/1/2007      20,908.76                                  76,045.40   -4,337.06   619.40         0.00
   12/4/09                                 Mortgage Insurance Disbursement   6/1/2007      20,908.76                -26.00            76,045.40   -4,363.06   619.40         0.00
   12/16/09                        26.97             Late Charge             6/1/2007      20,908.76                          26.97   76,045.40   -4,363.06   646.37         0.00
    1/1/10           674.27                    Contractual Payment Due       6/1/2007      21,583.03                                  76,045.40   -4,363.06   646.37         0.00
    1/5/10                                 Mortgage Insurance Disbursement   6/1/2007      21,583.03                -26.00            76,045.40   -4,389.06   646.37         0.00
   1/19/10                         26.97             Late Charge             6/1/2007      21,583.03                          26.97   76,045.40   -4,389.06   673.34         0.00
    2/1/10           674.27                    Contractual Payment Due       6/1/2007      22,257.30                                  76,045.40   -4,389.06   673.34         0.00
    2/1/10                                         City/Village Tax          6/1/2007      22,257.30              -1,185.97           76,045.40   -5,575.03   673.34         0.00
    2/4/10                                 Mortgage Insurance Disbursement   6/1/2007      22,257.30                -26.00            76,045.40   -5,601.03   673.34         0.00
   2/16/10                         26.97             Late Charge             6/1/2007      22,257.30                          26.97   76,045.40   -5,601.03   700.31         0.00
    3/1/10           674.27                    Contractual Payment Due       6/1/2007      22,931.57                                  76,045.40   -5,601.03   700.31         0.00
    3/4/10                                 Mortgage Insurance Disbursement   6/1/2007      22,931.57                -26.00            76,045.40   -5,627.03   700.31         0.00
   3/16/10                         26.97             Late Charge             6/1/2007      22,931.57                          26.97   76,045.40   -5,627.03   727.28         0.00
   3/25/10                                        Hazard Insurance           6/1/2007      22,931.57               -829.52            76,045.40   -6,456.55   727.28         0.00
    4/1/10           674.27                    Contractual Payment Due       6/1/2007      23,605.84                                  76,045.40   -6,456.55   727.28         0.00
    4/2/10                                 Mortgage Insurance Disbursement   6/1/2007      23,605.84                -26.00            76,045.40   -6,482.55   727.28         0.00
   4/16/10                         26.97             Late Charge             6/1/2007      23,605.84                          26.97   76,045.40   -6,482.55   754.25         0.00
    5/1/10           674.27                    Contractual Payment Due       6/1/2007      24,280.11                                  76,045.40   -6,482.55   754.25         0.00
    5/4/10                                 Mortgage Insurance Disbursement   6/1/2007      24,280.11                -26.00            76,045.40   -6,508.55   754.25         0.00
   5/17/10                         26.97             Late Charge             6/1/2007      24,280.11                          26.97   76,045.40   -6,508.55   781.22         0.00
    6/1/10           674.27                    Contractual Payment Due       6/1/2007      24,954.38                                  76,045.40   -6,508.55   781.22         0.00
    6/4/10                                 Mortgage Insurance Disbursement   6/1/2007      24,954.38                -26.00            76,045.40   -6,534.55   781.22         0.00
   6/16/10                         26.97             Late Charge             6/1/2007      24,954.38                          26.97   76,045.40   -6,534.55   808.19         0.00
    7/1/10           674.27                    Contractual Payment Due       6/1/2007      25,628.65                                  76,045.40   -6,534.55   808.19         0.00
    7/2/10                                 Mortgage Insurance Disbursement   6/1/2007      25,628.65                -25.51            76,045.40   -6,560.06   808.19         0.00
   7/16/10                         26.97             Late Charge             6/1/2007      25,628.65                          26.97   76,045.40   -6,560.06   835.16         0.00
    8/1/10           674.27                    Contractual Payment Due       6/1/2007      26,302.92                                  76,045.40   -6,560.06   835.16         0.00
    8/4/10                                 Mortgage Insurance Disbursement   6/1/2007      26,302.92                -25.51            76,045.40   -6,585.57   835.16         0.00
   8/16/10                         26.97             Late Charge             6/1/2007      26,302.92                          26.97   76,045.40   -6,585.57   862.13         0.00
    9/1/10           674.27                    Contractual Payment Due       6/1/2007      26,977.19                                  76,045.40   -6,585.57   862.13         0.00
    9/3/10                                 Mortgage Insurance Disbursement   6/1/2007      26,977.19                -25.51            76,045.40   -6,611.08   862.13         0.00
   9/16/10                         26.97             Late Charge             6/1/2007      26,977.19                          26.97   76,045.40   -6,611.08   889.10         0.00
   10/1/10           674.27                    Contractual Payment Due       6/1/2007      27,651.46                                  76,045.40   -6,611.08   889.10         0.00
   10/4/10                                 Mortgage Insurance Disbursement   6/1/2007      27,651.46                -25.51            76,045.40   -6,636.59   889.10         0.00
   10/18/10                        26.97             Late Charge             6/1/2007      27,651.46                          26.97   76,045.40   -6,636.59   916.07         0.00
   11/1/10           674.27                    Contractual Payment Due       6/1/2007      28,325.73                                  76,045.40   -6,636.59   916.07         0.00
   11/4/10                                 Mortgage Insurance Disbursement   6/1/2007      28,325.73                -25.51            76,045.40   -6,662.10   916.07         0.00
Official Form 410A                                                                      Mortgage Proof of Claim                                                        Page 4 of10
   11/16/10                   Case
                              Case  19-12097-mdc
                                 26.97
                                      19-00228-mdc
                                                Late Charge
                                                                  Claim
                                                                  Doc 17-2
                                                                         3-2 Part
                                                                       6/1/2007 Filed
                                                                                   228,325.73
                                                                                        03/13/20
                                                                                          Filed 12/17/19
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                                                                                                          Desc
                                                                                                            03/13/20
                                                                                                                Exhibit23:25:14
                                                                                                                   26.97
                                                                                                                           Page 576,045.40
                                                                                                                                 Desc
                                                                                                                                   of 10           -6,662.10    943.04          0.00
   12/1/10           674.27               Contractual Payment Due Exhibit  A - POC29,000.00
                                                                       6/1/2007       3-2 pat 2 Page 5 of 10                     76,045.40         -6,662.10    943.04          0.00
   12/3/10                                 Mortgage Insurance Disbursement   6/1/2007      29,000.00                -25.51            76,045.40    -6,687.61    943.04          0.00
   12/16/10                        26.97             Late Charge             6/1/2007      29,000.00                          26.97   76,045.40    -6,687.61    970.01          0.00
    1/1/11           674.27                    Contractual Payment Due       6/1/2007      29,674.27                                  76,045.40    -6,687.61    970.01          0.00
    1/4/11                                 Mortgage Insurance Disbursement   6/1/2007      29,674.27                -25.51            76,045.40    -6,713.12    970.01          0.00
   1/18/11                         26.97             Late Charge             6/1/2007      29,674.27                          26.97   76,045.40    -6,713.12    996.98          0.00
    2/1/11           674.27                    Contractual Payment Due       6/1/2007      30,348.54                                  76,045.40    -6,713.12    996.98          0.00
    2/4/11                                 Mortgage Insurance Disbursement   6/1/2007      30,348.54                -25.51            76,045.40    -6,738.63    996.98          0.00
   2/14/11                                         City/Village Tax          6/1/2007      30,348.54              -1,303.36           76,045.40    -8,041.99    996.98          0.00
   2/16/11                         26.97             Late Charge             6/1/2007      30,348.54                          26.97   76,045.40    -8,041.99   1,023.95         0.00
    3/1/11           674.27                    Contractual Payment Due       6/1/2007      31,022.81                                  76,045.40    -8,041.99   1,023.95         0.00
    3/4/11                                 Mortgage Insurance Disbursement   6/1/2007      31,022.81                -25.51            76,045.40    -8,067.50   1,023.95         0.00
   3/16/11                         26.97             Late Charge             6/1/2007      31,022.81                          26.97   76,045.40    -8,067.50   1,050.92         0.00
   3/31/11                                        Hazard Insurance           6/1/2007      31,022.81               -898.60            76,045.40    -8,966.10   1,050.92         0.00
    4/1/11           674.27                    Contractual Payment Due       6/1/2007      31,697.08                                  76,045.40    -8,966.10   1,050.92         0.00
    4/4/11                                 Mortgage Insurance Disbursement   6/1/2007      31,697.08                -25.51            76,045.40    -8,991.61   1,050.92         0.00
   4/18/11                         26.97             Late Charge             6/1/2007      31,697.08                          26.97   76,045.40    -8,991.61   1,077.89         0.00
    5/1/11           674.27                    Contractual Payment Due       6/1/2007      32,371.35                                  76,045.40    -8,991.61   1,077.89         0.00
    5/4/11                                 Mortgage Insurance Disbursement   6/1/2007      32,371.35                -25.51            76,045.40    -9,017.12   1,077.89         0.00
   5/16/11                         26.97             Late Charge             6/1/2007      32,371.35                          26.97   76,045.40    -9,017.12   1,104.86         0.00
    6/1/11           674.27                    Contractual Payment Due       6/1/2007      33,045.62                                  76,045.40    -9,017.12   1,104.86         0.00
    6/3/11                                 Mortgage Insurance Disbursement   6/1/2007      33,045.62                -25.51            76,045.40    -9,042.63   1,104.86         0.00
   6/16/11                         26.97             Late Charge             6/1/2007      33,045.62                          26.97   76,045.40    -9,042.63   1,131.83         0.00
    7/1/11           674.27                    Contractual Payment Due       6/1/2007      33,719.89                                  76,045.40    -9,042.63   1,131.83         0.00
    7/5/11                                 Mortgage Insurance Disbursement   6/1/2007      33,719.89                -25.00            76,045.40    -9,067.63   1,131.83         0.00
   7/18/11                         26.97             Late Charge             6/1/2007      33,719.89                          26.97   76,045.40    -9,067.63   1,158.80         0.00
    8/1/11           674.27                    Contractual Payment Due       6/1/2007      34,394.16                                  76,045.40    -9,067.63   1,158.80         0.00
    8/4/11                                 Mortgage Insurance Disbursement   6/1/2007      34,394.16                -25.00            76,045.40    -9,092.63   1,158.80         0.00
   8/16/11                         26.97             Late Charge             6/1/2007      34,394.16                          26.97   76,045.40    -9,092.63   1,185.77         0.00
    9/1/11           674.27                    Contractual Payment Due       6/1/2007      35,068.43                                  76,045.40    -9,092.63   1,185.77         0.00
    9/2/11                                 Mortgage Insurance Disbursement   6/1/2007      35,068.43                -25.00            76,045.40    -9,117.63   1,185.77         0.00
   9/16/11                         26.97             Late Charge             6/1/2007      35,068.43                          26.97   76,045.40    -9,117.63   1,212.74         0.00
   10/1/11           674.27                    Contractual Payment Due       6/1/2007      35,742.70                                  76,045.40    -9,117.63   1,212.74         0.00
   10/4/11                                 Mortgage Insurance Disbursement   6/1/2007      35,742.70                -25.00            76,045.40    -9,142.63   1,212.74         0.00
   10/17/11                        26.97             Late Charge             6/1/2007      35,742.70                          26.97   76,045.40    -9,142.63   1,239.71         0.00
   11/1/11           674.27                    Contractual Payment Due       6/1/2007      36,416.97                                  76,045.40    -9,142.63   1,239.71         0.00
   11/4/11                                 Mortgage Insurance Disbursement   6/1/2007      36,416.97                -25.00            76,045.40    -9,167.63   1,239.71         0.00
   11/16/11                        26.97             Late Charge             6/1/2007      36,416.97                          26.97   76,045.40    -9,167.63   1,266.68         0.00
   12/1/11           674.27                    Contractual Payment Due       6/1/2007      37,091.24                                  76,045.40    -9,167.63   1,266.68         0.00
   12/2/11                                 Mortgage Insurance Disbursement   6/1/2007      37,091.24                -25.00            76,045.40    -9,192.63   1,266.68         0.00
   12/16/11                        26.97             Late Charge             6/1/2007      37,091.24                          26.97   76,045.40    -9,192.63   1,293.65         0.00
    1/1/12           674.27                    Contractual Payment Due       6/1/2007      37,765.51                                  76,045.40    -9,192.63   1,293.65         0.00
    1/4/12                                 Mortgage Insurance Disbursement   6/1/2007      37,765.51                -25.00            76,045.40    -9,217.63   1,293.65         0.00
   1/17/12                         26.97             Late Charge             6/1/2007      37,765.51                          26.97   76,045.40    -9,217.63   1,320.62         0.00
   1/25/12                                         City/Village Tax          6/1/2007      37,765.51              -1,353.58           76,045.40   -10,571.21   1,320.62         0.00
    2/1/12           674.27                    Contractual Payment Due       6/1/2007      38,439.78                                  76,045.40   -10,571.21   1,320.62         0.00
    2/3/12                                 Mortgage Insurance Disbursement   6/1/2007      38,439.78                -25.00            76,045.40   -10,596.21   1,320.62         0.00
   2/16/12                         26.97             Late Charge             6/1/2007      38,439.78                          26.97   76,045.40   -10,596.21   1,347.59         0.00
    3/1/12           674.27                    Contractual Payment Due       6/1/2007      39,114.05                                  76,045.40   -10,596.21   1,347.59         0.00
    3/2/12                                 Mortgage Insurance Disbursement   6/1/2007      39,114.05                -25.00            76,045.40   -10,621.21   1,347.59         0.00
   3/16/12                         26.97             Late Charge             6/1/2007      39,114.05                          26.97   76,045.40   -10,621.21   1,374.56         0.00
    4/1/12           674.27                    Contractual Payment Due       6/1/2007      39,788.32                                  76,045.40   -10,621.21   1,374.56         0.00
    4/3/12                                        Hazard Insurance           6/1/2007      39,788.32              -1,144.14           76,045.40   -11,765.35   1,374.56         0.00
    4/4/12                                 Mortgage Insurance Disbursement   6/1/2007      39,788.32                -25.00            76,045.40   -11,790.35   1,374.56         0.00
   4/16/12                         26.97             Late Charge             6/1/2007      39,788.32                          26.97   76,045.40   -11,790.35   1,401.53         0.00
    5/1/12           674.27                    Contractual Payment Due       6/1/2007      40,462.59                                  76,045.40   -11,790.35   1,401.53         0.00
    5/4/12                                 Mortgage Insurance Disbursement   6/1/2007      40,462.59                -25.00            76,045.40   -11,815.35   1,401.53         0.00
   5/16/12                         26.97             Late Charge             6/1/2007      40,462.59                          26.97   76,045.40   -11,815.35   1,428.50         0.00
    6/1/12           674.27                    Contractual Payment Due       6/1/2007      41,136.86                                  76,045.40   -11,815.35   1,428.50         0.00
    6/4/12                                 Mortgage Insurance Disbursement   6/1/2007      41,136.86                -25.00            76,045.40   -11,840.35   1,428.50         0.00
Official Form 410A                                                                      Mortgage Proof of Claim                                                           Page 5 of10
   6/18/12                    Case
                              Case  19-12097-mdc
                                 26.97
                                      19-00228-mdc
                                                Late Charge
                                                                  Claim
                                                                  Doc 17-2
                                                                         3-2 Part
                                                                       6/1/2007 Filed
                                                                                   241,136.86
                                                                                        03/13/20
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                                                                                                                Exhibit23:25:14
                                                                                                                   26.97
                                                                                                                           Page 676,045.40
                                                                                                                                 Desc
                                                                                                                                   of 10          -11,840.35   1,455.47         0.00
    7/1/12           674.27               Contractual Payment Due Exhibit  A - POC41,811.13
                                                                       6/1/2007       3-2 pat 2 Page 6 of 10                     76,045.40        -11,840.35   1,455.47         0.00
    7/3/12                                 Mortgage Insurance Disbursement   6/1/2007      41,811.13                -24.45            76,045.40   -11,864.80   1,455.47         0.00
   7/16/12                         26.97             Late Charge             6/1/2007      41,811.13                          26.97   76,045.40   -11,864.80   1,482.44         0.00
    8/1/12           674.27                    Contractual Payment Due       6/1/2007      42,485.40                                  76,045.40   -11,864.80   1,482.44         0.00
    8/3/12                                 Mortgage Insurance Disbursement   6/1/2007      42,485.40                -24.45            76,045.40   -11,889.25   1,482.44         0.00
   8/16/12                         26.97             Late Charge             6/1/2007      42,485.40                          26.97   76,045.40   -11,889.25   1,509.41         0.00
    9/1/12           674.27                    Contractual Payment Due       6/1/2007      43,159.67                                  76,045.40   -11,889.25   1,509.41         0.00
    9/5/12                                 Mortgage Insurance Disbursement   6/1/2007      43,159.67                -24.45            76,045.40   -11,913.70   1,509.41         0.00
   9/17/12                         26.97             Late Charge             6/1/2007      43,159.67                          26.97   76,045.40   -11,913.70   1,536.38         0.00
   10/1/12           674.27                    Contractual Payment Due       6/1/2007      43,833.94                                  76,045.40   -11,913.70   1,536.38         0.00
   10/4/12                                 Mortgage Insurance Disbursement   6/1/2007      43,833.94                -24.45            76,045.40   -11,938.15   1,536.38         0.00
   10/16/12                        26.97             Late Charge             6/1/2007      43,833.94                          26.97   76,045.40   -11,938.15   1,563.35         0.00
   11/1/12           674.27                    Contractual Payment Due       6/1/2007      44,508.21                                  76,045.40   -11,938.15   1,563.35         0.00
   11/2/12                                 Mortgage Insurance Disbursement   6/1/2007      44,508.21                -24.45            76,045.40   -11,962.60   1,563.35         0.00
   11/16/12                        26.97             Late Charge             6/1/2007      44,508.21                          26.97   76,045.40   -11,962.60   1,590.32         0.00
   12/1/12           674.27                    Contractual Payment Due       6/1/2007      45,182.48                                  76,045.40   -11,962.60   1,590.32         0.00
   12/4/12                                 Mortgage Insurance Disbursement   6/1/2007      45,182.48                -24.45            76,045.40   -11,987.05   1,590.32         0.00
   12/17/12                        26.97             Late Charge             6/1/2007      45,182.48                          26.97   76,045.40   -11,987.05   1,617.29         0.00
    1/1/13           674.27                    Contractual Payment Due       6/1/2007      45,856.75                                  76,045.40   -11,987.05   1,617.29         0.00
    1/4/13                                 Mortgage Insurance Disbursement   6/1/2007      45,856.75                -24.45            76,045.40   -12,011.50   1,617.29         0.00
   1/16/13                         26.97             Late Charge             6/1/2007      45,856.75                          26.97   76,045.40   -12,011.50   1,644.26         0.00
   1/29/13                                         City/Village Tax          6/1/2007      45,856.75              -1,402.23           76,045.40   -13,413.73   1,644.26         0.00
    2/1/13           674.27                    Contractual Payment Due       6/1/2007      46,531.02                                  76,045.40   -13,413.73   1,644.26         0.00
    2/4/13                                 Mortgage Insurance Disbursement   6/1/2007      46,531.02                -24.45            76,045.40   -13,438.18   1,644.26         0.00
   2/19/13                         26.97             Late Charge             6/1/2007      46,531.02                          26.97   76,045.40   -13,438.18   1,671.23         0.00
    3/1/13           674.27                    Contractual Payment Due       6/1/2007      47,205.29                                  76,045.40   -13,438.18   1,671.23         0.00
    3/4/13                                 Mortgage Insurance Disbursement   6/1/2007      47,205.29                -24.45            76,045.40   -13,462.63   1,671.23         0.00
   3/18/13                         26.97             Late Charge             6/1/2007      47,205.29                          26.97   76,045.40   -13,462.63   1,698.20         0.00
    4/1/13           674.27                    Contractual Payment Due       6/1/2007      47,879.56                                  76,045.40   -13,462.63   1,698.20         0.00
    4/2/13                                        Hazard Insurance           6/1/2007      47,879.56              -1,179.48           76,045.40   -14,642.11   1,698.20         0.00
    4/4/13                                 Mortgage Insurance Disbursement   6/1/2007      47,879.56                -24.45            76,045.40   -14,666.56   1,698.20         0.00
   4/16/13                         26.97             Late Charge             6/1/2007      47,879.56                          26.97   76,045.40   -14,666.56   1,725.17         0.00
    5/1/13           674.27                    Contractual Payment Due       6/1/2007      48,553.83                                  76,045.40   -14,666.56   1,725.17         0.00
    5/3/13                                 Mortgage Insurance Disbursement   6/1/2007      48,553.83                -24.45            76,045.40   -14,691.01   1,725.17         0.00
   5/16/13                         26.97             Late Charge             6/1/2007      48,553.83                          26.97   76,045.40   -14,691.01   1,752.14         0.00
    6/1/13           674.27                    Contractual Payment Due       6/1/2007      49,228.10                                  76,045.40   -14,691.01   1,752.14         0.00
    6/4/13                                 Mortgage Insurance Disbursement   6/1/2007      49,228.10                -24.45            76,045.40   -14,715.46   1,752.14         0.00
   6/17/13                         26.97             Late Charge             6/1/2007      49,228.10                          26.97   76,045.40   -14,715.46   1,779.11         0.00
    7/1/13           674.27                    Contractual Payment Due       6/1/2007      49,902.37                                  76,045.40   -14,715.46   1,779.11         0.00
    7/3/13                                 Mortgage Insurance Disbursement   6/1/2007      49,902.37                -23.86            76,045.40   -14,739.32   1,779.11         0.00
   7/16/13                         26.97             Late Charge             6/1/2007      49,902.37                          26.97   76,045.40   -14,739.32   1,806.08         0.00
    8/1/13           674.27                    Contractual Payment Due       6/1/2007      50,576.64                                  76,045.40   -14,739.32   1,806.08         0.00
    8/2/13                                 Mortgage Insurance Disbursement   6/1/2007      50,576.64                -23.86            76,045.40   -14,763.18   1,806.08         0.00
   8/16/13                         26.97             Late Charge             6/1/2007      50,576.64                          26.97   76,045.40   -14,763.18   1,833.05         0.00
    9/1/13           674.27                    Contractual Payment Due       6/1/2007      51,250.91                                  76,045.40   -14,763.18   1,833.05         0.00
    9/4/13                                 Mortgage Insurance Disbursement   6/1/2007      51,250.91                -23.86            76,045.40   -14,787.04   1,833.05         0.00
   9/16/13                         26.97             Late Charge             6/1/2007      51,250.91                          26.97   76,045.40   -14,787.04   1,860.02         0.00
   10/1/13           674.27                    Contractual Payment Due       6/1/2007      51,925.18                                  76,045.40   -14,787.04   1,860.02         0.00
   10/4/13                                 Mortgage Insurance Disbursement   6/1/2007      51,925.18                -23.86            76,045.40   -14,810.90   1,860.02         0.00
   10/16/13                        26.97             Late Charge             6/1/2007      51,925.18                          26.97   76,045.40   -14,810.90   1,886.99         0.00
   11/1/13           674.27                    Contractual Payment Due       6/1/2007      52,599.45                                  76,045.40   -14,810.90   1,886.99         0.00
   11/4/13                                 Mortgage Insurance Disbursement   6/1/2007      52,599.45                -23.86            76,045.40   -14,834.76   1,886.99         0.00
   11/18/13                        26.97             Late Charge             6/1/2007      52,599.45                          26.97   76,045.40   -14,834.76   1,913.96         0.00
   12/1/13           674.27                    Contractual Payment Due       6/1/2007      53,273.72                                  76,045.40   -14,834.76   1,913.96         0.00
   12/4/13                                 Mortgage Insurance Disbursement   6/1/2007      53,273.72                -23.86            76,045.40   -14,858.62   1,913.96         0.00
   12/16/13                        26.97             Late Charge             6/1/2007      53,273.72                          26.97   76,045.40   -14,858.62   1,940.93         0.00
    1/1/14           674.27                    Contractual Payment Due       6/1/2007      53,947.99                                  76,045.40   -14,858.62   1,940.93         0.00
    1/3/14                                 Mortgage Insurance Disbursement   6/1/2007      53,947.99                -23.86            76,045.40   -14,882.48   1,940.93         0.00
   1/16/14                         26.97             Late Charge             6/1/2007      53,947.99                          26.97   76,045.40   -14,882.48   1,967.90         0.00
   1/27/14                                         City/Village Tax          6/1/2007      53,947.99              -1,532.22           76,045.40   -16,414.70   1,967.90         0.00
Official Form 410A                                                                      Mortgage Proof of Claim                                                           Page 6 of10
    2/1/14           674.27
                              Case
                              Case19-12097-mdc
                                   19-00228-mdc
                                        Contractual Payment Due
                                                                 Claim
                                                                  Doc 17-2
                                                                        3-2 Part
                                                                      6/1/2007 Filed
                                                                                  254,622.26
                                                                                       03/13/20
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                                                                                                                                Desc
                                                                                                                                  of 10            -16,414.70   1,967.90         0.00
    2/4/14                                                       Exhibit
                                     Mortgage Insurance Disbursement      A - POC54,622.26
                                                                      6/1/2007       3-2 pat 2 Page 7 of-23.86
                                                                                                            10                  76,045.40          -16,438.56   1,967.90         0.00
   2/18/14                         26.97             Late Charge             6/1/2007      54,622.26                           26.97   76,045.40   -16,438.56   1,994.87         0.00
    3/1/14           945.78                    Contractual Payment Due       6/1/2007      55,568.04                                   76,045.40   -16,438.56   1,994.87         0.00
    3/4/14                                 Mortgage Insurance Disbursement   6/1/2007      55,568.04                -23.86             76,045.40   -16,462.42   1,994.87         0.00
   3/17/14                         37.83             Late Charge             6/1/2007      55,568.04                           37.83   76,045.40   -16,462.42   2,032.70         0.00
    4/1/14           945.78                    Contractual Payment Due       6/1/2007      56,513.82                                   76,045.40   -16,462.42   2,032.70         0.00
    4/1/14                                        Hazard Insurance           6/1/2007      56,513.82              -1,224.29            76,045.40   -17,686.71   2,032.70         0.00
    4/4/14                                 Mortgage Insurance Disbursement   6/1/2007      56,513.82                -23.86             76,045.40   -17,710.57   2,032.70         0.00
   4/16/14                         37.83             Late Charge             6/1/2007      56,513.82                           37.83   76,045.40   -17,710.57   2,070.53         0.00
    5/1/14           945.78                    Contractual Payment Due       6/1/2007      57,459.60                                   76,045.40   -17,710.57   2,070.53         0.00
    5/2/14                                 Mortgage Insurance Disbursement   6/1/2007      57,459.60                -23.86             76,045.40   -17,734.43   2,070.53         0.00
   5/16/14                         37.83             Late Charge             6/1/2007      57,459.60                           37.83   76,045.40   -17,734.43   2,108.36         0.00
    6/1/14           945.78                    Contractual Payment Due       6/1/2007      58,405.38                                   76,045.40   -17,734.43   2,108.36         0.00
    6/4/14                                 Mortgage Insurance Disbursement   6/1/2007      58,405.38                -23.86             76,045.40   -17,758.29   2,108.36         0.00
   6/16/14                         37.83             Late Charge             6/1/2007      58,405.38                           37.83   76,045.40   -17,758.29   2,146.19         0.00
    7/1/14           945.78                    Contractual Payment Due       6/1/2007      59,351.16                                   76,045.40   -17,758.29   2,146.19         0.00
    7/3/14                                 Mortgage Insurance Disbursement   6/1/2007      59,351.16                -23.23             76,045.40   -17,781.52   2,146.19         0.00
   7/16/14                         37.83             Late Charge             6/1/2007      59,351.16                           37.83   76,045.40   -17,781.52   2,184.02         0.00
    8/1/14           945.78                    Contractual Payment Due       6/1/2007      60,296.94                                   76,045.40   -17,781.52   2,184.02         0.00
    8/4/14                                 Mortgage Insurance Disbursement   6/1/2007      60,296.94                -23.23             76,045.40   -17,804.75   2,184.02         0.00
   8/18/14                         37.83             Late Charge             6/1/2007      60,296.94                           37.83   76,045.40   -17,804.75   2,221.85         0.00
    9/1/14           945.78                    Contractual Payment Due       6/1/2007      61,242.72                                   76,045.40   -17,804.75   2,221.85         0.00
    9/4/14                                 Mortgage Insurance Disbursement   6/1/2007      61,242.72                -23.23             76,045.40   -17,827.98   2,221.85         0.00
   9/16/14                         37.83             Late Charge             6/1/2007      61,242.72                           37.83   76,045.40   -17,827.98   2,259.68         0.00
   10/1/14           945.78                    Contractual Payment Due       6/1/2007      62,188.50                                   76,045.40   -17,827.98   2,259.68         0.00
   10/3/14                                 Mortgage Insurance Disbursement   6/1/2007      62,188.50                -23.23             76,045.40   -17,851.21   2,259.68         0.00
   10/16/14                        37.83             Late Charge             6/1/2007      62,188.50                           37.83   76,045.40   -17,851.21   2,297.51         0.00
   11/1/14           945.78                    Contractual Payment Due       6/1/2007      63,134.28                                   76,045.40   -17,851.21   2,297.51         0.00
   11/4/14                                 Mortgage Insurance Disbursement   6/1/2007      63,134.28                -23.23             76,045.40   -17,874.44   2,297.51         0.00
   11/17/14                        37.83             Late Charge             6/1/2007      63,134.28                           37.83   76,045.40   -17,874.44   2,335.34         0.00
   12/1/14           945.78                    Contractual Payment Due       6/1/2007      64,080.06                                   76,045.40   -17,874.44   2,335.34         0.00
   12/4/14                                 Mortgage Insurance Disbursement   6/1/2007      64,080.06                -23.23             76,045.40   -17,897.67   2,335.34         0.00
   12/16/14                        37.83             Late Charge             6/1/2007      64,080.06                           37.83   76,045.40   -17,897.67   2,373.17         0.00
    1/1/15           805.87                    Contractual Payment Due       6/1/2007      64,885.93                                   76,045.40   -17,897.67   2,373.17         0.00
    1/5/15                                 Mortgage Insurance Disbursement   6/1/2007      64,885.93                -23.23             76,045.40   -17,920.90   2,373.17         0.00
   1/16/15                         32.23             Late Charge             6/1/2007      64,885.93                           32.23   76,045.40   -17,920.90   2,405.40         0.00
    2/1/15           805.87                    Contractual Payment Due       6/1/2007      65,691.80                                   76,045.40   -17,920.90   2,405.40         0.00
    2/4/15                                 Mortgage Insurance Disbursement   6/1/2007      65,691.80                -23.23             76,045.40   -17,944.13   2,405.40         0.00
   2/11/15                                         City/Village Tax          6/1/2007      65,691.80              -1,532.22            76,045.40   -19,476.35   2,405.40         0.00
   2/17/15                         32.23             Late Charge             6/1/2007      65,691.80                           32.23   76,045.40   -19,476.35   2,437.63         0.00
    3/1/15           805.87                    Contractual Payment Due       6/1/2007      66,497.67                                   76,045.40   -19,476.35   2,437.63         0.00
    3/4/15                                 Mortgage Insurance Disbursement   6/1/2007      66,497.67                -23.23             76,045.40   -19,499.58   2,437.63         0.00
   3/16/15                         32.23             Late Charge             6/1/2007      66,497.67                           32.23   76,045.40   -19,499.58   2,469.86         0.00
    4/1/15           805.87                    Contractual Payment Due       6/1/2007      67,303.54                                   76,045.40   -19,499.58   2,469.86         0.00
    4/1/15                                        Hazard Insurance           6/1/2007      67,303.54              -1,265.04            76,045.40   -20,764.62   2,469.86         0.00
    4/3/15                                 Mortgage Insurance Disbursement   6/1/2007      67,303.54                -23.23             76,045.40   -20,787.85   2,469.86         0.00
   4/21/15                        325.00            FC Cost-Title            6/1/2007      67,303.54                          325.00   76,045.40   -20,787.85   2,794.86         0.00
   4/21/15                         50.00             FC Atty-Fee             6/1/2007      67,303.54                           50.00   76,045.40   -20,787.85   2,844.86         0.00
    5/1/15           805.87                    Contractual Payment Due       6/1/2007      68,109.41                                   76,045.40   -20,787.85   2,844.86         0.00
    5/4/15                                 Mortgage Insurance Disbursement   6/1/2007      68,109.41                -23.23             76,045.40   -20,811.08   2,844.86         0.00
   5/11/15                        250.00            WK Cost-Title            6/1/2007      68,109.41                          250.00   76,045.40   -20,811.08   3,094.86         0.00
   5/11/15                        125.00            WK Atty-Fee              6/1/2007      68,109.41                          125.00   76,045.40   -20,811.08   3,219.86         0.00
   5/21/15                         14.00         Property Inspection         6/1/2007      68,109.41                           14.00   76,045.40   -20,811.08   3,233.86         0.00
    6/1/15           805.87                    Contractual Payment Due       6/1/2007      68,915.28                                   76,045.40   -20,811.08   3,233.86         0.00
    6/4/15                                 Mortgage Insurance Disbursement   6/1/2007      68,915.28                -23.23             76,045.40   -20,834.31   3,233.86         0.00
   6/22/15                         14.00         Property Inspection         6/1/2007      68,915.28                           14.00   76,045.40   -20,834.31   3,247.86         0.00
    7/1/15           805.87                    Contractual Payment Due       6/1/2007      69,721.15                                   76,045.40   -20,834.31   3,247.86         0.00
    7/3/15                                 Mortgage Insurance Disbursement   6/1/2007      69,721.15                -22.56             76,045.40   -20,856.87   3,247.86         0.00
   7/23/15                         14.00         Property Inspection         6/1/2007      69,721.15                           14.00   76,045.40   -20,856.87   3,261.86         0.00
    8/1/15           805.87                    Contractual Payment Due       6/1/2007      70,527.02                                   76,045.40   -20,856.87   3,261.86         0.00
Official Form 410A                                                                      Mortgage Proof of Claim                                                            Page 7 of10
    8/4/15                    Case
                              Case19-12097-mdc
                                      19-00228-mdc                  Claim
                                                                     Doc 17-2
                                        Mortgage Insurance Disbursement
                                                                           3-2 Part
                                                                         6/1/2007 Filed
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                                                                                                                                      Desc
                                                                                                                                        of 10         -20,879.43   3,261.86         0.00
   8/24/15                       14.00        Property Inspection   Exhibit  A - POC70,527.02
                                                                         6/1/2007       3-2 pat 2 Page 8 of 10          14.00         76,045.40       -20,879.43   3,275.86         0.00
    9/1/15           805.87                     Contractual Payment Due       6/1/2007      71,332.89                                     76,045.40   -20,879.43   3,275.86         0.00
    9/4/15                                  Mortgage Insurance Disbursement   6/1/2007      71,332.89                -22.56               76,045.40   -20,901.99   3,275.86         0.00
   9/24/15                         14.00          Property Inspection         6/1/2007      71,332.89                            14.00    76,045.40   -20,901.99   3,289.86         0.00
   10/1/15           805.87                     Contractual Payment Due       6/1/2007      72,138.76                                     76,045.40   -20,901.99   3,289.86         0.00
   10/26/15                        14.00          Property Inspection         6/1/2007      72,138.76                            14.00    76,045.40   -20,901.99   3,303.86         0.00
   11/1/15           805.87                     Contractual Payment Due       6/1/2007      72,944.63                                     76,045.40   -20,901.99   3,303.86         0.00
   11/25/15                        14.00          Property Inspection         6/1/2007      72,944.63                            14.00    76,045.40   -20,901.99   3,317.86         0.00
   12/1/15           805.87                     Contractual Payment Due       6/1/2007      73,750.50                                     76,045.40   -20,901.99   3,317.86         0.00
   12/30/15                        14.00          Property Inspection         6/1/2007      73,750.50                            14.00    76,045.40   -20,901.99   3,331.86         0.00
    1/1/16           743.43                     Contractual Payment Due       6/1/2007      74,493.93                                     76,045.40   -20,901.99   3,331.86         0.00
   1/22/16                                          City/Village Tax          6/1/2007      74,493.93              -1,600.60              76,045.40   -22,502.59   3,331.86         0.00
    2/1/16           743.43                     Contractual Payment Due       6/1/2007      75,237.36                                     76,045.40   -22,502.59   3,331.86         0.00
    2/2/16                         14.00          Property Inspection         6/1/2007      75,237.36                            14.00    76,045.40   -22,502.59   3,345.86         0.00
    3/1/16           743.43                     Contractual Payment Due       6/1/2007      75,980.79                                     76,045.40   -22,502.59   3,345.86         0.00
    3/6/16                         14.00          Property Inspection         6/1/2007      75,980.79                            14.00    76,045.40   -22,502.59   3,359.86         0.00
    4/1/16           743.43                     Contractual Payment Due       6/1/2007      76,724.22                                     76,045.40   -22,502.59   3,359.86         0.00
    4/1/16                                         Hazard Insurance           6/1/2007      76,724.22              -1,280.34              76,045.40   -23,782.93   3,359.86         0.00
   4/18/16                         14.00          Property Inspection         6/1/2007      76,724.22                            14.00    76,045.40   -23,782.93   3,373.86         0.00
   4/25/16                        355.48             FC Cost-Filing           6/1/2007      76,724.22                           355.48    76,045.40   -23,782.93   3,729.34         0.00
   4/28/16                        145.00            FC Cost-Service           6/1/2007      76,724.22                           145.00    76,045.40   -23,782.93   3,874.34         0.00
    5/1/16           743.43                     Contractual Payment Due       6/1/2007      77,467.65                                     76,045.40   -23,782.93   3,874.34         0.00
   5/16/16                         90.00            FC Cost-Service           6/1/2007      77,467.65                            90.00    76,045.40   -23,782.93   3,964.34         0.00
   5/18/16                         14.00          Property Inspection         6/1/2007      77,467.65                            14.00    76,045.40   -23,782.93   3,978.34         0.00
   5/18/16                         95.00            FC Cost-Service           6/1/2007      77,467.65                            95.00    76,045.40   -23,782.93   4,073.34         0.00
   5/18/16                       1,150.00             FC Atty-Fee             6/1/2007      77,467.65                          1,150.00   76,045.40   -23,782.93   5,223.34         0.00
    6/1/16           743.43                     Contractual Payment Due       6/1/2007      78,211.08                                     76,045.40   -23,782.93   5,223.34         0.00
    6/8/16                         57.68             FC Cost-Filing           6/1/2007      78,211.08                            57.68    76,045.40   -23,782.93   5,281.02         0.00
   6/15/16                         14.00          Property Inspection         6/1/2007      78,211.08                            14.00    76,045.40   -23,782.93   5,295.02         0.00
   6/30/16                        375.00              FC Atty-Fee             6/1/2007      78,211.08                           375.00    76,045.40   -23,782.93   5,670.02         0.00
    7/1/16           743.43                     Contractual Payment Due       6/1/2007      78,954.51                                     76,045.40   -23,782.93   5,670.02         0.00
    7/7/16                        145.00            FC Cost-Service           6/1/2007      78,954.51                           145.00    76,045.40   -23,782.93   5,815.02         0.00
   7/15/16                         14.00          Property Inspection         6/1/2007      78,954.51                            14.00    76,045.40   -23,782.93   5,829.02         0.00
    8/1/16           743.43                     Contractual Payment Due       6/1/2007      79,697.94                                     76,045.40   -23,782.93   5,829.02         0.00
   8/17/16                         14.00          Property Inspection         6/1/2007      79,697.94                            14.00    76,045.40   -23,782.93   5,843.02         0.00
    9/1/16           743.43                     Contractual Payment Due       6/1/2007      80,441.37                                     76,045.40   -23,782.93   5,843.02         0.00
    9/8/16                        350.00              FC Atty-Fee             6/1/2007      80,441.37                           350.00    76,045.40   -23,782.93   6,193.02         0.00
   9/18/16                         14.00          Property Inspection         6/1/2007      80,441.37                            14.00    76,045.40   -23,782.93   6,207.02         0.00
   10/1/16           743.43                     Contractual Payment Due       6/1/2007      81,184.80                                     76,045.40   -23,782.93   6,207.02         0.00
   10/19/16                        14.00          Property Inspection         6/1/2007      81,184.80                            14.00    76,045.40   -23,782.93   6,221.02         0.00
   11/1/16           743.43                     Contractual Payment Due       6/1/2007      81,928.23                                     76,045.40   -23,782.93   6,221.02         0.00
   11/3/16                        225.00              FC Atty-Fee             6/1/2007      81,928.23                           225.00    76,045.40   -23,782.93   6,446.02         0.00
   11/17/16                        14.00          Property Inspection         6/1/2007      81,928.23                            14.00    76,045.40   -23,782.93   6,460.02         0.00
   12/1/16           743.43                     Contractual Payment Due       6/1/2007      82,671.66                                     76,045.40   -23,782.93   6,460.02         0.00
   12/1/16                        225.00              FC Atty-Fee             6/1/2007      82,671.66                           225.00    76,045.40   -23,782.93   6,685.02         0.00
   12/19/16                        14.00          Property Inspection         6/1/2007      82,671.66                            14.00    76,045.40   -23,782.93   6,699.02         0.00
    1/1/17           743.43                     Contractual Payment Due       6/1/2007      83,415.09                                     76,045.40   -23,782.93   6,699.02         0.00
   1/21/17                         14.00          Property Inspection         6/1/2007      83,415.09                            14.00    76,045.40   -23,782.93   6,713.02         0.00
   1/27/17                                          City/Village Tax          6/1/2007      83,415.09              -1,600.60              76,045.40   -25,383.53   6,713.02         0.00
    2/1/17           743.43                     Contractual Payment Due       6/1/2007      84,158.52                                     76,045.40   -25,383.53   6,713.02         0.00
   2/22/17                         14.00          Property Inspection         6/1/2007      84,158.52                            14.00    76,045.40   -25,383.53   6,727.02         0.00
    3/1/17           743.43                     Contractual Payment Due       6/1/2007      84,901.95                                     76,045.40   -25,383.53   6,727.02         0.00
    3/9/17                        225.00              FC Atty-Fee             6/1/2007      84,901.95                           225.00    76,045.40   -25,383.53   6,952.02         0.00
   3/24/17                         14.00          Property Inspection         6/1/2007      84,901.95                            14.00    76,045.40   -25,383.53   6,966.02         0.00
    4/1/17           743.43                     Contractual Payment Due       6/1/2007      85,645.38                                     76,045.40   -25,383.53   6,966.02         0.00
   4/19/17                                         Hazard Insurance           6/1/2007      85,645.38              -1,312.94              76,045.40   -26,696.47   6,966.02         0.00
   4/21/17                         14.00          Property Inspection         6/1/2007      85,645.38                            14.00    76,045.40   -26,696.47   6,980.02         0.00
    5/1/17           743.43                     Contractual Payment Due       6/1/2007      86,388.81                                     76,045.40   -26,696.47   6,980.02         0.00
   5/11/17                        225.00              FC Atty-Fee             6/1/2007      86,388.81                           225.00    76,045.40   -26,696.47   7,205.02         0.00
   5/23/17                         14.00          Property Inspection         6/1/2007      86,388.81                            14.00    76,045.40   -26,696.47   7,219.02         0.00
Official Form 410A                                                                       Mortgage Proof of Claim                                                              Page 8 of10
    6/1/17           743.43
                                                 Case
                                                 Case19-12097-mdc
                                                          19-00228-mdc
                                                              Contractual Payment Due
                                                                                      Claim
                                                                                      Doc 17-2
                                                                                             3-2 Part
                                                                                           6/1/2007 Filed
                                                                                                       287,132.24
                                                                                                            03/13/20
                                                                                                              Filed 12/17/19
                                                                                                                        Entered
                                                                                                                              Desc
                                                                                                                                03/13/20
                                                                                                                                    Exhibit23:25:14
                                                                                                                                               Page 976,045.40
                                                                                                                                                     Desc
                                                                                                                                                       of 10                                                             -26,696.47    7,219.02         0.00
    6/1/17                                          225.00          FC Atty-Fee       Exhibit  A - POC87,132.24
                                                                                           6/1/2007       3-2 pat 2 Page 9 of 10       225.00        76,045.40                                                           -26,696.47    7,444.02         0.00
   6/15/17                                             225.00              FC Atty-Fee              6/1/2007          87,132.24                                           225.00                  76,045.40              -26,696.47    7,669.02         0.00
   6/22/17                                              14.00          Property Inspection          6/1/2007          87,132.24                                            14.00                  76,045.40              -26,696.47    7,683.02         0.00
    7/1/17           743.43                                         Contractual Payment Due         6/1/2007          87,875.67                                                                   76,045.40              -26,696.47    7,683.02         0.00
   7/27/17                                              14.00          Property Inspection          6/1/2007          87,875.67                                            14.00                  76,045.40              -26,696.47    7,697.02         0.00
    8/1/17           743.43                                         Contractual Payment Due         6/1/2007          88,619.10                                                                   76,045.40              -26,696.47    7,697.02         0.00
   8/28/17                                              14.00          Property Inspection          6/1/2007          88,619.10                                            14.00                  76,045.40              -26,696.47    7,711.02         0.00
    9/1/17           743.43                                         Contractual Payment Due         6/1/2007          89,362.53                                                                   76,045.40              -26,696.47    7,711.02         0.00
    9/7/17                                             225.00              FC Atty-Fee              6/1/2007          89,362.53                                           225.00                  76,045.40              -26,696.47    7,936.02         0.00
   9/27/17                                              14.00          Property Inspection          6/1/2007          89,362.53                                            14.00                  76,045.40              -26,696.47    7,950.02         0.00
   10/1/17           743.43                                         Contractual Payment Due         6/1/2007          90,105.96                                                                   76,045.40              -26,696.47    7,950.02         0.00
   11/1/17           743.43                                         Contractual Payment Due         6/1/2007          90,849.39                                                                   76,045.40              -26,696.47    7,950.02         0.00
   11/1/17                                              14.00          Property Inspection          6/1/2007          90,849.39                                            14.00                  76,045.40              -26,696.47    7,964.02         0.00
   11/22/17                                            172.00              FC Atty-Fee              6/1/2007          90,849.39                                           172.00                  76,045.40              -26,696.47    8,136.02         0.00
   12/1/17           743.43                                         Contractual Payment Due         6/1/2007          91,592.82                                                                   76,045.40              -26,696.47    8,136.02         0.00
   12/8/17                                              14.00          Property Inspection          6/1/2007          91,592.82                                            14.00                  76,045.40              -26,696.47    8,150.02         0.00
    1/1/18           743.43                                         Contractual Payment Due         6/1/2007          92,336.25                                                                   76,045.40              -26,696.47    8,150.02         0.00
   1/11/18                                              57.68             FC Cost--Filing           6/1/2007          92,336.25                                            57.68                  76,045.40              -26,696.47    8,207.70         0.00
   1/12/18                                                1.19           FC Cost-Service            6/1/2007          92,336.25                                              1.19                 76,045.40              -26,696.47    8,208.89         0.00
   1/24/18                                             215.00              FC Atty-Fee              6/1/2007          92,336.25                                           215.00                  76,045.40              -26,696.47    8,423.89         0.00
    2/1/18           743.43                                         Contractual Payment Due         6/1/2007          93,079.68                                                                   76,045.40              -26,696.47    8,423.89         0.00
    2/5/18                                                               City/Village Tax           6/1/2007          93,079.68                           -1,184.86                               76,045.40              -27,881.33    8,423.89         0.00
   2/16/18                                              14.00          Property Inspection          6/1/2007          93,079.68                                            14.00                  76,045.40              -27,881.33    8,437.89         0.00
    3/1/18           743.43                                         Contractual Payment Due         6/1/2007          93,823.11                                                                   76,045.40              -27,881.33    8,437.89         0.00
   3/20/18                                              14.00          Property Inspection          6/1/2007          93,823.11                                            14.00                  76,045.40              -27,881.33    8,451.89         0.00
    4/1/18           743.43                                         Contractual Payment Due         6/1/2007          94,566.54                                                                   76,045.40              -27,881.33    8,451.89         0.00
    4/9/18                                                              Hazard Insurance            6/1/2007          94,566.54                           -1,343.54                               76,045.40              -29,224.87    8,451.89         0.00
   4/25/18                                              14.00          Property Inspection          6/1/2007          94,566.54                                            14.00                  76,045.40              -29,224.87    8,465.89         0.00
    5/1/18           743.43                                         Contractual Payment Due         6/1/2007          95,309.97                                                                   76,045.40              -29,224.87    8,465.89         0.00
   5/28/18                                              14.00          Property Inspection          6/1/2007          95,309.97                                            14.00                  76,045.40              -29,224.87    8,479.89         0.00
    6/1/18           743.43                                         Contractual Payment Due         6/1/2007          96,053.40                                                                   76,045.40              -29,224.87    8,479.89         0.00
   6/18/18                                             645.00              FC Atty-Fee              6/1/2007          96,053.40                                           645.00                  76,045.40              -29,224.87    9,124.89         0.00
   6/29/18                                              14.00          Property Inspection          6/1/2007          96,053.40                                            14.00                  76,045.40              -29,224.87    9,138.89         0.00
    7/1/18           743.43                                         Contractual Payment Due         6/1/2007          96,796.83                                                                   76,045.40              -29,224.87    9,138.89         0.00
    7/2/18                                                1.42             FC Atty-Cost             6/1/2007          96,796.83                                              1.42                 76,045.40              -29,224.87    9,140.31         0.00
   7/27/18                                              14.00          Property Inspection          6/1/2007          96,796.83                                            14.00                  76,045.40              -29,224.87    9,154.31         0.00
    8/1/18           743.43                                         Contractual Payment Due         6/1/2007          97,540.26                                                                   76,045.40              -29,224.87    9,154.31         0.00
   8/27/18                                              14.00          Property Inspection          6/1/2007          97,540.26                                            14.00                  76,045.40              -29,224.87    9,168.31         0.00
    9/1/18           743.43                                         Contractual Payment Due         6/1/2007          98,283.69                                                                   76,045.40              -29,224.87    9,168.31         0.00
   9/28/18                                              15.00          Property Inspection          6/1/2007          98,283.69                                            15.00                  76,045.40              -29,224.87    9,183.31         0.00
   10/1/18           743.43                                         Contractual Payment Due         6/1/2007          99,027.12                                                                   76,045.40              -29,224.87    9,183.31         0.00
   10/30/18                                             15.00          Property Inspection          6/1/2007          99,027.12                                            15.00                  76,045.40              -29,224.87    9,198.31         0.00
   11/1/18           743.43                                         Contractual Payment Due         6/1/2007          99,770.55                                                                   76,045.40              -29,224.87    9,198.31         0.00
   12/1/18           743.43                                         Contractual Payment Due         6/1/2007         100,513.98                                                                   76,045.40              -29,224.87    9,198.31         0.00
   12/1/18                                              14.00          Property Inspection          6/1/2007         100,513.98                                            14.00                  76,045.40              -29,224.87    9,212.31         0.00
    1/1/19           743.43                                         Contractual Payment Due         6/1/2007         101,257.41                                                                   76,045.40              -29,224.87    9,212.31         0.00
    1/2/19                                              14.00          Property Inspection          6/1/2007         101,257.41                                            14.00                  76,045.40              -29,224.87    9,226.31         0.00
   1/30/19                                              15.00          Property Inspection          6/1/2007         101,257.41                                            15.00                  76,045.40              -29,224.87    9,241.31         0.00
    2/1/19           743.43                                         Contractual Payment Due         6/1/2007         102,000.84                                                                   76,045.40              -29,224.87    9,241.31         0.00
    2/5/19                                                               City/Village Tax           6/1/2007         102,000.84                             -949.27                               76,045.40              -30,174.14    9,241.31         0.00
   2/28/19                                              15.00          Property Inspection          6/1/2007         102,000.84                                            15.00                  76,045.40              -30,174.14    9,256.31         0.00
   2/28/19                                           12,312.45     F/C Atty Fee -Civil Litigation   6/1/2007         102,000.84                                         12,312.45                 76,045.40              -30,174.14   21,568.76         0.00
    3/1/19           743.43                                         Contractual Payment Due         6/1/2007         102,744.27                                                                   76,045.40              -30,174.14   21,568.76         0.00
   3/29/19                                                              Hazard Insurance            6/1/2007         102,744.27                           -1,399.33                               76,045.40              -31,573.47   21,568.76         0.00
   3/31/19                                           10,018.80     F/C Atty Fee -Civil Litigation   6/1/2007         102,744.27                                         10,018.80                 76,045.40              -31,573.47   31,587.56         0.00
    4/1/19           743.43                                         Contractual Payment Due         6/1/2007         103,487.70                                                                   76,045.40              -31,573.47   31,587.56         0.00
    4/1/19                                              15.00          Property Inspection          6/1/2007         103,487.70                                            15.00                  76,045.40              -31,573.47   31,602.56         0.00



               Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has possession of the
Official Form 410A                                                                                                Mortgage
                                                                  promissory note. Creditor is the original mortgagee       Proof of or
                                                                                                                       or beneficiary Claim
                                                                                                                                         the assignee of the mortgage or deed of trust.                                                           Page 9 of10
              Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or through an agent, has possession of the
                                               Case
                                                Case19-12097-mdc
                                                     19-00228-mdc Claim
                                                                   Doc 17-2
                                                                        3-2 Part
                                                                               Filed
                                                                                  2 03/13/20
                                                                                     Filed 12/17/19
                                                                                                Entered
                                                                                                     Desc
                                                                                                        03/13/20
                                                                                                           Exhibit23:25:14
                                                                                                                     Page 10Desc
                                                                                                                             of 10
                                                                 promissory note. Creditor is the original mortgagee or beneficiary or the assignee of the mortgage or deed of trust.
                                                                  Exhibit A - POC 3-2 pat 2 Page 10 of 10




Official Form 410A                                                                                               Mortgage Proof of Claim                                                                                                     Page 10 of10
